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                       IN THE DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


ROBERT LARISON,

              Plaintiff,                     CASE NO: 3:20-cv-01140-BJD-JRK

v.

FEDERAL DEPOSIT INSURANCE
CORPORATION; AMERIS BANK;
and AMERIS BANCORP INC.,

              Defendants.
                                      /

                 PLAINTIFF’S OBJECTIONS
  TO MAGISTRATE JUDGE’S REPORT AND RECOMMENDATIONS
 GRANTING DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
 AND DENYING PLAINTIF’FS MOTION FOR SUMMARY JUDGMENT

      Plaintiff ROBERT LARISON, by and through the undersigned counsel,

responds to the Report and Recommendation of the Honorable Laura Lothman

Lambert. (Doc. 47) Objections to a Magistrate Judge’s report and recommendation

are reviewed de novo, see Fed. R. Civ. P. 72(b)(3) and 28 U.S.C. § 636(b)(1)(C), and

a court should “give fresh consideration to those issues to which specific objection

has been made by a party.” Jeffrey S. v. State Bd. Of Educ., 896 F.2d 507, 512 (11th

Cir. 1990).

      I.      The Magistrate Judge gave inappropriate deference to the
              Agency when the Agency interpreted its regulation in a
              manner contrary to the enabling statute.
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      The definition of a golden parachute differs under its statutory and

regulatory definitions. 12 U.S.C. § 1828(k)(4)(A) defines a golden parachute as

      Any payment (or any agreement to make any payment) in the nature
      of compensation by any insured depository institution or covered
      company for the benefit of any institution-affiliated party pursuant to
      an obligation of such institution or covered company that—
      (i) is contingent on the termination of such party’s affiliation with the
      institution or covered company . . .

Pursuant to the statute, the FDIC promulgated 12 C.F.R. § 359.1(f)(1), which

defines a golden parachute payment as

      (1) “any payment (or any agreement to make any payment)” by an
      FDIC-insured bank; (2) “in the nature of compensation”; (3) “for the
      benefit of any current or former” employee; (4) that “[i]s contingent
      on, or by its terms payable on or after, the termination” of the
      employee’s employment by the bank; and (5) is or would be received
      on or after a determination by the FDIC that the insured bank is in a
      troubled condition.”

Harrison v. Ocean Bank, 614 F. App’x 431 (11th Cir. 2015) (quoting 12 C.F.R. §

359.1(f)(1)). The statute limits the definition to payments that are contingent on

termination. Black’s Law Dictionary defines “contingent” as “dependent on

something that might or might not happen in the future; conditional.” The

regulatory definition expands the statutory requirement that payment must be

contingent on termination, by including any amounts payable on or after the

termination of employment, regardless of whether they became payable upon

termination. Under either the statutory or regulatory definition, however,

Larison’s SERP does not meet the definition of a “golden parachute.”




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      The Administrative Procedures Act provides that a federal court shall hold

unlawful and set aside agency action, findings, and conclusions found to be

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). A court must reject an agency’s interpretation of its own

regulation if that interpretation is inconsistent with Congress’s statutory

directives. See Daugherty v. Director, Office of Workers Comp. Program, 897

F.2d 740, 742 (4th Cir. 1990) (citing Chevron U.S.A. v. Natural Res. Def. Council,

467 U.S. 837, 842-44, 104 S.Ct. 2778, 81 L.Ed.2d 694 (1984)). Additionally, as

pointed out by the Magistrate Judge, "[a]gency actions and conclusions may be

found arbitrary and capricious ‘where the agency has relied on factors which

Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to

the evidence before the agency, or is so implausible that it could not be ascribed to

a difference in view or the product of agency expertise.’” Doc. 47 (quoting BBX Cap.

v. FDIC, 956 F.3d 1304, 1314-15 (11th Cir. 2020) (per curiam)).

      The Magistrate Judge accepted FDIC’s interpretation of the SERP as a

“golden parachute” based on the fact that the benefit is payable after termination,

concluding that 12 C.F.R. § 359.1(f)(1) permitted such an interpretation. The

statute, however, does not permit golden parachute designation merely based on

when the benefit is paid, but instead requires that payment of a benefit be

contingent upon termination. 12 U.S.C. § 1828(k)(4)(A). Larison’s SERP benefit

was not contingent on his termination, and instead he became entitled to the SERP

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based on his age and years of service, and the SERP was payable to him before he

left the bank’s employment. While the golden parachute regulation promulgated

by the FDIC, applied by the Magistrate Judge, expands the definition of a golden

parachute beyond that provided by the statute, because the regulation’s

requirements are inconsistent with and depart from the statutory requirements to

determine whether a payment is a golden parachute, the FDIC’s regulation is

invalid. The Magistrate’s recommendation should therefore be rejected because of

the FDIC’s determination is inconsistent with the statute.

      The FDIC’s interpretation, as accepted by the Magistrate Judge, disallows a

valid retirement benefit based merely on the fact that it was payable after the

termination of employment. There is no dispute that Larison became entitled to

payment of his SERP benefit before he was terminated when he reached age 55,

and that he would have remained entitled to receive his benefit regardless of his

employment status. Larison could have continued working for the duration of his

benefit period and there would be no question that the benefit would be payable,

despite no difference in the language of the SERP, statute, regulation, or condition

of the bank, with the only distinction being how long Larison continued working

for the Bank following his 55th birthday. The statute does not permit such a result,

and instead only permits characterization of a benefit as a golden parachute when

the benefit becomes payable because of the termination. Larison’s SERP benefit

became payable before his termination and therefore does not qualify as a golden

parachute.

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      II.   Larison’s SERP benefit was not increased in amendments
            made during and following the lookback period, and to the
            extent that any increase was made, the pre-lookback benefit
            is payable to him.

            A. The amendments during the troubled period did not increase the
               benefit.

      Under the plain language of 12 C.F.R. § 359.1(d), Larison’s SERP was

payable as a bona fide deferred compensation plan so long as it was made “in

accordance with any amendments to such plan during such one-year period that

do not increase the benefits payable thereunder.” Amendments made during the

one-year lookback period that do not increase benefits are payable.

      There is no dispute that any amendments to Larison’s SERP during the one-

year lookback period and while the Bank was in troubled condition did not actually

increase Larison’s SERP benefit, as required by 12 C.F.R. § 359.1(d). Instead, the

FDIC and Magistrate Judge departed from the language of the regulation in

holding the benefit was not payable because it “potentially increased [plaintiff’s]

benefits during the look-back period.” FDICAR000232; FDICAR000355;

FDICAR000708-709. That the benefit was “potentially increased” based on

performance metrics is not consistent with 12 C.F.R. § 359.1(d), which requires

that any amendments “do not increase the benefits payable thereunder.”



            B. If there were an increase, the pre-lookback benefit should have
               payable.




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       There is no dispute that there are several versions of Larison’s SERP both

predating the institution’s troubled condition designation and within one year of

the   institution    being     troubled.     FDICAR000043;         FDICAR000000052;

FDICAR000055;           FDICAR000067;            FDICAR000148;          FDICAR000239;

FDICAR000580. There is also no dispute that Larison’s SERP benefit decreased

under the amendments made during the institution’s lookback period and during

the time the institution was troubled. FDICAR000168-69; FDICAR000343-46;

FDICAR000709. Even if the SERP benefit value had increased during the lookback

period, the remedy would be for the FDIC to permit payment under the last version

of the SERP predating the lookback period.1 In this case, the second SERP was

created prior to the lookback period, and should have entitled Larison to benefits.

The FDIC erroneously contended that Larison administratively only addressed the

Sixth SERP, Dkt. 38 at 9, but the record shows that Larison addressed the SERP

generally, rather than any specific version. FDICAR000038; FDICAR000159;

FDICAR000534. In fact, the FDIC and OCC acknowledged reviewing multiple

versions of Larison’s SERP. FDICAR000131; FDICAR000201; FDICAR000709;

see also FDICAR000043-54; FDICAR000055-65).

       Indeed, the FDIC’s own attorney agreed with Larison’s position that the pre-

lookback period SERP was effective if later versions were invalidated. Agency


112 C.F.R. § 359.1(d)(3)(ii). (“Any payment made pursuant to such plan is made in accordance
with the terms of the plan as in effect no later than one year prior to any of the
events described in paragraph (f)(1)(ii) of this section and in accordance with any
amendments to such plan during such one year period that do not increase the
benefits payable thereunder . . . ”) (emphasis added).
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counsel Barbara Lukes confirmed in a 2017 email that the agency must review the

pre-troubled condition versions of the SERP if the later ones were invalid:

      With respect to the plans, the SERP exception under Part 359 would
      require us to consider the plan that was in effect one year before the
      troubled condition (11/1/2010). This would mean that just the Second
      Amended and Restated Plan would apply of all of the other exceptions
      are applicable. The second amendment provided that the vesting
      occurred at the earliest of the completion of the second step
      conversion in 2011, prior to his termination.

FDICAR000171. Despite its counsel’s concession, the FDIC never evaluated the

validity of the pre-lookback SERP. The agency reviewed the original date of the

SERP and specified the various amendments to the SERP and the dates on which

they occurred, but only for the purpose of determining whether the SERP value

potentially increased during the troubled period. Id. As acknowledged by its own

counsel, it was error not to review entitlement under the pre-lookback version.

FDICAR000171. The Magistrate Judge erred in only analyzing whether the FDIC’s

limited analysis of only the Sixth SERP was arbitrary and capricious based on the

12 C.F.R. § 359.1(d)(3)(ii) and in light of the FDIC’s concession that earlier versions

of the SERP must be reviewed if the Sixth SERP is invalidated.

      The FDIC’s retroactive invalidation of a benefit created ten years before

Larison’s retirement and eight years before the declaration of the “troubled

condition” conflicts with the clear meaning of the one-year lookback period. The

FDIC’s application of its own regulations under 12 C.F.R. § 359.1 and 12 C.F.R. §

359.4 are inconsistent with the statutory and regulatory authority and therefore

should not be given deference by this Court.

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            III.   The Magistrate Judge erred in providing deference to
                   the FDIC’s evaluation of the 12 C.F.R. § 359.3(b)
                   factors when the FDIC’s evaluation was based on
                   incorrect facts that are contradicted by the record.

      The FDIC is permitted to allow payment of a golden parachute payment that

does not otherwise qualify as a bona fide deferred compensation plan based on the

institute affiliated party’s (“IAP”) conduct at the financial institution and upon

consideration of other relevant facts and circumstances supporting payment of the

benefit. 12 C.F.R. § 359.4(b). While the FDIC’s evaluation of those factors is

entitled to deference, as recognized by the Magistrate Judge, the FDIC and the

Magistrate Judge’s conclusions upon evaluating the 12 C.F.R. § 359.4(b) factors

was based on incorrect facts that either contradicted or were unsupported by the

administrative record, which renders the FDIC’s review arbitrary and capricious.

      In its April 14, 2021 letter denying Larison’s SERP benefit, the FDIC

inaccurately deemed Larison responsible for the Bank’s deterioration. The FDIC

erroneously determined that Larison was criticized by regulators for his

management of the Bank, FDICAR000475, a finding contradicted by the Office of

Thrift Supervision’s examination report which stated that “Atlantic Coast Bank’s

senior management team and its board of directors are regarded as competent and

capable. The bank is well capitalized, and management has taken several initiatives

to raise additional capital and improve the earnings structure of the bank.”

FDICAR000711. The FDIC failed to consider that the Bank’s downgrade to

troubled condition status occurred in the midst of the housing crisis and recession,


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while OTS acknowledged housing market conditions led to the Bank’s downgraded

condition. FDICAR000475. Instead of considering the articulated reasons for the

Bank’s downgraded condition, the FDIC instead surmised that Larison’s

leadership must have been the reason for the Bank’s downgraded condition,

despite over 20 years of successful leadership and service to the Bank and no

indication to support any wrongdoing, negligence, or irresponsibility on Larison’s

part to lead to the Bank’s downgraded condition. The FDIC’s allegations regarding

Larison’s supposed involvement the Bank’s downgraded condition are

unsupported, and are contrary to the administrative record and therefore should

not have been given deference.

      Respectfully submitted this 3rd day of August 2022.

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                         CERTIFICATE OF SERVICE

       I CERTIFY that the foregoing document was electronically filed with the U.S.

 District Court on this 3rd day of August 2022, via CM/ECF and was served this day

 on Erik Bond (erbond@fdic.gov), Attorney for Defendant FDIC, and John T.

 Rogerson,   III   (john.rogerson@arlaw.com)      and    James    N.       Floyd,   Jr.

 (james.floyd@arlaw.com), Attorneys for Defendants Ameris Bank and Ameris

 Bancorp, via CM/ECF and/or e-mail.

                                             /s/ T.A. “Tad” Delegal, III
                                             T.A. “Tad” Delegal, III




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